Case 05-37059-MS   Doc 1   Filed 08/23/05 Entered 08/23/05 12:54:42   Desc Main
                           Document Page 1 of 32
                     Discover Card
                     PO Box 15251
                     Wilmington, DE 19886-5251




                     Sears Gold Mastercard
                     PO Box 182156
                     Columbus, OH 43218-2156
         Case 05-37059-MS                Doc 1     Filed 08/23/05 Entered 08/23/05 12:54:42                     Desc Main
                                                   Document Page 2 of 32
                                          UNITED STATES BANKRUPTCY COURT
                                                    District of New Jersey

In re:    Simon Smith                                                                               Case No. ________________________

                                                                                                    Chapter    7

                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 1 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     8/16/2005                                               Signed:
                                                                                      s/ Simon Smith
                                                                                      ____________________________________________
                   ___________________
                                                                                      Simon Smith


         Signed:
                    "/s/ Alexander Rinaldi
                   ________________________________________________

                   Alexander J. Rinaldi
                   Bar No.         ajr/0932
               Case 05-37059-MS                         Doc 1
                                                   Filed 08/23/05 Entered 08/23/05 12:54:42 Desc Main
(Official Form 1) (12/03)                          Document Page 3 of 32
  FORM B1                       United States Bankruptcy Court
                                                                                       Voluntary Petition
                                     District of New Jersey

 Name of Debtor (if individual, enter Last, First, Middle):                                  Name of Joint Debtor (Spouse)(Last, First, Middle):
  Smith, Simon
 All Other Names used by the Debtor in the last 6 years                                      All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                 (include married, maiden, and trade names):


 Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                      Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No. (if
 (if more than one, state all):                                                              more than one, state all):

 Street Address of Debtor (No. & Street, City, State & Zip Code):                            Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  4205 Wynbrook Drive
  Randolph, NJ 07869
 County of Residence or of the                                                               County of Residence or of the
 Principal Place of Business: Morris                                                         Principal Place of Business:
 Mailing Address of Debtor (if different from street address):                               Mailing Address of Joint Debtor (if different from street address):


 Location of Principal Assets of Business Debtor
 (if different from street address above):
                                        Information Regarding the Debtor (Check the Applicable Boxes)
 Venue (Check any applicable box)
     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the

 
     date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)
                                        Railroad
                                                                                                          Chapter or Section of Bankruptcy Code Under Which

                                       Stockbroker
     Individual(s)                                                                                                the Petition is Filed (Check one box)

 
     Corporation
                                        Commodity Broker                                                                Chapter 11                       Chapter 13
                                                                                              Chapter                   Chapter 12
                                                                                               Chapter 7
 
     Partnership
     Other                              Clearing Bank                                        Sec. 304 - Case ancillary to foreign proceeding
                                                                                                       9


                                        Business
                  Nature of Debts (Check one box)
                                                                                                                         Filing Fee (Check one box)
   Consumer/Non-Business
                                                                                             
                                                                                                    Full Filing Fee Attached
     Chapter 11 Small Business (Check all boxes that apply)                                         Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                                   Must attach signed application for the court's consideration certifying
    Debtor is a small business as defined in 11 U.S.C. § 101
     Debtor is and elects to be considered a small business under
                                                                                                    that the debtor is unable to pay fee except in installments.
                                                                                                    Rule 1006(b). See Official Form No. 3.
     11 U.S.C. § 1121(e) (Optional)
 Statistical/Administrative Information (Estimates only)
 
                                                                                                                                         THIS SPACE IS FOR COURT USE ONLY
     Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
     be no funds available for distribution to unsecured creditors.


                                                                                                           
                                             1-15          16-49         50-99     100-199    200-999       1000-over
 Estimated Number of Creditors

 Estimated Assets
      $0 to     $50,001 to    $100,001 to    $500,001 to           $1,000,001 to   $10,000,001 to       $50,000,001 to    More than

                                                                                                                       
     $50,000     $100,000      $500,000       $1 million            $10 million      $50 million         $100 million    $100 million



 Estimated Debts
      $0 to     $50,001 to    $100,001 to    $500,001 to           $1,000,001 to   $10,000,001 to       $50,000,001 to    More than

                                                                                                                        
     $50,000     $100,000      $500,000       $1 million            $10 million      $50 million         $100 million    $100 million
                Case 05-37059-MS                 Doc 1         Filed 08/23/05 Entered 08/23/05 12:54:42                                      Desc Main
(Official Form 1) (12/03)                                      Document Page 4 of 32                                                                   FORM B1, Page 2
Voluntary Petition                                                                  Name of Debtor(s):Simon Smith
  (This page must be completed and filed in every case)
                            Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
 Location                                                                           Case Number:                                         Date Filed:
 Where Filed:       NONE
             Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                    Case Number:                                         Date Filed:
  NONE

 District:                                                                          Relationship:                                        Judge:


                                                                           Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                           Exhibit A
 I declare under penalty of perjury that the information provided in this                (To be completed if debtor is required to file periodic reports
 petition is true and correct.                                                           (e.g., forms 10Kand 10Q) with the Securities and Exchange
 [If petitioner is an individual whose debts are primarily consumer debts and            Commission pursuant to Section 13 or 15(d) of the Securities

                                                                                     
 has chosen to file under chapter 7] I am aware that I may proceed under                 Exchange Act of 1934 and is requesting relief under chapter 11)
 chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief          Exhibit A is attached and made a part of this petition.
 available under each such chapter, and choose to proceed under chapter 7.
 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                                             Exhibit B
                                                                                                        (To be completed if debtor is an individual
                                                                                                        whose debts are primarily consumer debts)
  X s/ Simon Smith
                                                                                     I, the attorney for the petitioner named in the foregoing petition, declare that
     Signature of Debtor
                                                                                     I have informed the petitioner that [he or she] may proceed under chapter
                                                                                     7, 11, 12, or 13 of title 11, United States Code, and have explained the
  X Not Applicable                                                                   relief available under each such chapter.
     Signature of Joint Debtor
                                                                                      X "/s/ Alexander Rinaldi                                    8/16/2005
                                                                                         Signature of Attorney for Debtor(s)                           Date
     Telephone Number (If not represented by attorney)

     8/16/2005                                                                                                           Exhibit C
     Date                                                                                Does the debtor own or have possession of any property that poses
                                                                                         or is alleged to pose a threat of imminent and identifiable harm to
                             Signature of Attorney
                                                                                         public health or safety?
  X "/s/ Alexander Rinaldi                                                                       Yes, and Exhibit C is attached and made a part of this petition.
     Signature of Attorney for Debtor(s)
                                                                                                No
     Alexander J. Rinaldi, ajr/0932
                                                                                                      Signature of Non-Attorney Petition Preparer
     Printed Name of Attorney for Debtor(s) / Bar No.
                                                                                    I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                    that I prepared this document for compensation, and that I have provided
     Salny, Redbord & Rinaldi                                                       the debtor with a copy of this document.
     Firm Name
                                                                                       Not Applicable
     9 Eyland Avenue @ Route 10 Succasunna, New Jersey 07876
                                                                                       Printed Name of Bankruptcy Petition Preparer
     Address
     (973) 584-1520 Alexander J. Ri naldi, Esq.
                                                                                       Social Security Number (Required by 11 U.S.C. § 110(c).)

     Telephone Number                                                                  Address
     8/16/2005
     Date
                                                                                       Names and Social Security numbers of all other individuals who prepared
               Signature of Debtor (Corporation/Partnership)                           or assisted in preparing this document:
 I declare under penalty of perjury that the information provided in this
 petition is true and correct, and that I have been authorized to file this
 petition on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11, United
 States Code, specified in this petition.
                                                                                       If more than one person prepared this document, attach additional sheets
 X Not Applicable                                                                      conforming to the appropriate official form for each person.
     Signature of Authorized Individual
                                                                                    X Not Applicable
                                                                                       Signature of Bankruptcy Petition Preparer
     Printed Name of Authorized Individual
                                                                                       Date
     Title of Authorized Individual
                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of
                                                                                    title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
     Date                                                                           or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
             Case 05-37059-MS    Doc 1   Filed 08/23/05 Entered 08/23/05 12:54:42                                                   Desc Main
                                         Document Page 5 of 32
FORM B6A
(6/90)

In re:   Simon Smith                                                                         ,          Case No.

                       Debtor                                                                                                         (If known)




                                SCHEDULE A - REAL PROPERTY




                                                                    HUSBAND, WIFE, JOINT
                                                                                                            CURRENT
                                                                                                        MARKET VALUE




                                                                      OR COMMUNITY
                                                                                                         OF DEBTOR'S
              DESCRIPTION AND                                                                             INTEREST IN                         AMOUNT OF
                                          NATURE OF DEBTOR'S
                LOCATION OF                                                                           PROPERTY WITHOUT                         SECURED
                                         INTEREST IN PROPERTY
                 PROPERTY                                                                               DEDUCTING ANY                           CLAIM
                                                                                                       SECURED CLAIM
                                                                                                         OR EXEMPTION




                                                            Total                                                              0.00
                                                                                           (Report also on Summary of Schedules.)
             Case 05-37059-MS                      Doc 1       Filed 08/23/05 Entered 08/23/05 12:54:42                                 Desc Main
                                                               Document Page 6 of 32
FORM B6B
(10/89)

In re     Simon Smith                                                                             ,   Case No.
                                       Debtor                                                                                            (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT




                                                                                                                   OR COMMUNITY
                                                                                                                                         MARKET VALUE OF
                                                                                                                                        DEBTOR'S INTEREST

                                                   NONE
                                                                       DESCRIPTION AND LOCATION                                         IN PROPERTY, WITH-
             TYPE OF PROPERTY                                                OF PROPERTY                                                OUT DEDUCTING ANY
                                                                                                                                          SECURED CLAIM
                                                                                                                                           OR EXEMPTION



   1. Cash on hand                                        Cash on hand                                                                                  50.00

   2. Checking, savings or other financial                Bank of America, Succasunna, New Jersey                                                       35.00
      accounts, certificates of deposit, or               checking account
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


   3. Security deposits with public utilities,            Landlord Security Deposit                                                                   1,311.00
      telephone companies, landlords, and
      others.


   4. Household goods and furnishings,                    Miscellaneous household furnishings                                                          500.00
      including audio, video, and computer
      equipment.


   5. Books, pictures and other art objects,              Books, pictures, etc.                                                                        400.00
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                                    Wearing apparel/wardrobe                                                                     250.00

   7. Furs and jewelry.                                   Jewelry                                                                                      150.00

   8. Firearms and sports, photographic, and              Hobby equipment                                                                               95.00
      other hobby equipment.


   9. Interests in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each              X
     issuer.


 11. Interests in IRA, ERISA, Keogh, or other      X
     pension or profit sharing plans. Itemize.


 12. Stock and interests in incorporated and       X
     unincorporated businesses. Itemize.


 13. Interests in partnerships or joint            X
     ventures. Itemize.


 14. Government and corporate bonds and            X
     other negotiable and nonnegotiable
     instruments.
            Case 05-37059-MS                        Doc 1   Filed 08/23/05 Entered 08/23/05 12:54:42                               Desc Main
                                                            Document Page 7 of 32
FORM B6B
(10/89)

In re     Simon Smith                                                                        ,   Case No.
                                       Debtor                                                                                       (If known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)




                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT




                                                                                                              OR COMMUNITY
                                                                                                                                    MARKET VALUE OF
                                                                                                                                   DEBTOR'S INTEREST

                                                    NONE
                                                                  DESCRIPTION AND LOCATION                                         IN PROPERTY, WITH-
            TYPE OF PROPERTY                                            OF PROPERTY                                                OUT DEDUCTING ANY
                                                                                                                                     SECURED CLAIM
                                                                                                                                      OR EXEMPTION



 15. Accounts receivable.                           X

 16. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 17. Other liquidated debts owing debtor            X
     including tax refunds. Give particulars.


 18. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule of Real Property.


 19. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 20. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 21. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 22. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 23. Automobiles, trucks, trailers, and other       X
     vehicles and accessories.


 24. Boats, motors, and accessories.                X

 25. Aircraft and accessories.                      X

 26. Office equipment, furnishings, and             X
     supplies.


 27. Machinery, fixtures, equipment and             X
     supplies used in business.


 28. Inventory.                                     X

 29. Animals.                                       X
            Case 05-37059-MS                   Doc 1       Filed 08/23/05 Entered 08/23/05 12:54:42                                     Desc Main
                                                           Document Page 8 of 32
FORM B6B
(10/89)

In re     Simon Smith                                                                          ,   Case No.
                                    Debtor                                                                                               (If known)



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT




                                                                                                                   OR COMMUNITY
                                                                                                                                         MARKET VALUE OF
                                                                                                                                        DEBTOR'S INTEREST

                                               NONE
                                                                    DESCRIPTION AND LOCATION                                            IN PROPERTY, WITH-
            TYPE OF PROPERTY                                              OF PROPERTY                                                   OUT DEDUCTING ANY
                                                                                                                                          SECURED CLAIM
                                                                                                                                           OR EXEMPTION


 30. Crops - growing or harvested. Give        X
     particulars.


 31. Farming equipment and implements.         X

 32. Farm supplies, chemicals, and feed.       X

 33. Other personal property of any kind not          Unused Floating Exemption                                                                       4,150.00
     already listed. Itemize.



                                                      2   continuation sheets attached                   Total                                    $ 6,941.00

                                                                                                              (Include amounts from any continuation sheets
                                                                                                              attached. Report total also on Summary of
                                                                                                              Schedules.)
            Case 05-37059-MS                 Doc 1        Filed 08/23/05 Entered 08/23/05 12:54:42                                Desc Main
                                                          Document Page 9 of 32
FORM B6C
(6/90)

In re    Simon Smith                                                                                      , Case No.
                                      Debtor.                                                                                      (If known)



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemption to which debtor is entitled under:


(Check one box)

   11 U.S.C. § 522(b)(1)        Exemptions provided in 11 U.S.C. § 522(d).        Note: These exemptions are available only in certain states.

 11 U.S.C. § 522(b)(2)         Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                                been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period
                                than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is
                                exempt from process under applicable nonbankruptcy law.



                                                                                                 VALUE OF                      CURRENT MARKET
                                                          SPECIFY LAW
                                                                                                 CLAIMED                      VALUE OF PROPERTY,
         DESCRIPTION OF PROPERTY                         PROVIDING EACH
                                                           EXEMPTION                            EXEMPTION                     WITHOUT DEDUCTING
                                                                                                                                  EXEMPTIONS

Bank of America, Succasunna,               11 USC § 522(d)(5)                                              35.00                                    35.00
New Jersey checking account
Books, pictures, etc.                      11 USC § 522(d)(5)                                             400.00                                   400.00
Cash on hand                               11 USC § 522(d)(5)                                              50.00                                    50.00
Hobby equipment                            11 USC § 522(d)(5)                                              95.00                                    95.00
Jewelry                                    11 USC § 522(d)(4)                                             150.00                                   150.00
Landlord Security Deposit                  11 USC § 522(d)(5)                                           1,311.00                                 1,311.00
Miscellaneous household                    11 USC § 522(d)(3)                                             500.00                                   500.00
furnishings
Unused Floating Exemption                  11 USC § 522(d)(5)                                           4,150.00                                 4,150.00
Wearing apparel/wardrobe                   11 USC § 522(d)(5)                                             250.00                                   250.00
                Case 05-37059-MS                     Doc 1             Filed 08/23/05 Entered 08/23/05 12:54:42                                                                            Desc Main
                                                                       Document Page 10 of 32
FORM B6D
(12/03)

In re:   Simon Smith                                                                                                             ,                                  Case No.
                                            Debtor                                                                                                                                              (If known)


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                                                                                         AMOUNT




                                                                            HUSBAND, WIFE, JOINT
                                                                                                     DATE CLAIM WAS INCURRED,
                                                                                                                                                                                         OF CLAIM




                                                                                                                                                              UNLIQUIDATED
                                                                              OR COMMUNITY
                        CREDITOR'S NAME,                                                                NATURE OF LIEN, AND




                                                                                                                                               CONTINGENT
                                                                                                                                                                                                          UNSECURED




                                                                 CODEBTOR




                                                                                                                                                                             DISPUTED
                        MAILING ADDRESS                                                               DESCRIPTION AND MARKET                                                             WITHOUT
                                                                                                                                                                                                           PORTION,
                      INCLUDING ZIP CODE,                                                               VALUE OF PROPERTY                                                               DEDUCTING
                                                                                                                                                                                                            IF ANY
                     AND ACCOUNT NUMBER                                                                   SUBJECT TO LIEN                                                                VALUE OF
                      (See instructions, above.)                                                                                                                                        COLLATERAL


ACCOUNT NO.

                                                                                                   __________________________
                                                                                                   VALUE




0 Continuation sheets attached
                                                                                                                                Subtotal                                                      $0.00
                                                                                                                                     (Total of this page)
                                                                                                                                     Total                                                    $0.00
                                                                                                                            (Use only on last page)


                                                                                                                                                            (Report total also on Summary of Schedules)
                 Case 05-37059-MS                    Doc 1        Filed 08/23/05 Entered 08/23/05 12:54:42                                  Desc Main
                                                                  Document Page 11 of 32
Form B6E
(04/04)

In re       Simon Smith                                                                                                 ,        Case No.
                                           Debtor                                                                                                (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


        Extensions of credit in an involuntary case

        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
        before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

        Wages, salaries, and commissions

        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
        owing to qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding
        the filing of the original petition, or the cessation of business, whichever occurred first, to the extent provided in
        11 U.S.C. § 507(a)(3).

        Contributions to employee benefit plans

        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
        petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11
        U.S.C. § 507(a)(5).

        Deposits by individuals

        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
        family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

        Alimony, Maintenance, or Support

        Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in
        11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11
        U.S.C. § 507(a)(8).
        Commitments to Maintain the Capital of an Insured Depository Institution

        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency,
        or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of
        an insured depository institution. 11 U.S.C. § 507(a)(9).

        Other Priority Debts

        * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or
        after the date of adjustment.




                                                                     1 Continuation sheets attached
               Case 05-37059-MS                     Doc 1         Filed 08/23/05 Entered 08/23/05 12:54:42                                                                                        Desc Main
                                                                  Document Page 12 of 32
Form B6E - Cont.
(04/04)

In re      Simon Smith                                                                                                                           ,          Case No.
                            Debtor                                                                                                                                                                     (If known)


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                           HUSBAND, WIFE, JOINT
                      CREDITOR'S NAME,                                                                  DATE CLAIM WAS                                                                            AMOUNT            AMOUNT




                                                                                                                                                                        UNLIQUIDATED
                                                                             OR COMMUNITY




                                                                                                                                                           CONTINGENT
                                                                CODEBTOR
                       MAILING ADDRESS                                                            INCURRED AND CONSIDERATION                                                                      OF CLAIM          ENTITLED




                                                                                                                                                                                       DISPUTED
                     INCLUDING ZIP CODE,                                                                   FOR CLAIM                                                                                                   TO
                    AND ACCOUNT NUMBER                                                                                                                                                                              PRIORITY
                        (See instructions.)



 ACCOUNT NO.




                                                                                                                                                    Subtotal
Sheet no. 1 of 1 sheets attached to Schedule of Creditors Holding Priority Claims                                                       (Total of this page)
                                                                                                                                                                                                      $0.00
                                                                                                                                                     Total
                                                                                                       (Use only on last page of the completed Schedule E.)
                                                                                                                                                                                                      $0.00
                                                                                                                                        (Report total also on Summary of Schedules)
              Case 05-37059-MS                         Doc 1      Filed 08/23/05 Entered 08/23/05 12:54:42                                                                Desc Main
                                                                  Document Page 13 of 32
Form B6F (12/03)


In re     Simon Smith                                                                                                              ,       Case No.
                                        Debtor                                                                                                                                       (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

          Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                           UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                              CONTINGENT
                                                                                                      DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                          DISPUTED
                 MAILING ADDRESS                                                                    AND CONSIDERATION FOR CLAIM.                                                         AMOUNT OF
               INCLUDING ZIP CODE,                                                                      IF CLAIM IS SUBJECT TO                                                             CLAIM
              AND ACCOUNT NUMBER                                                                           SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.            6011001900264062                                                                                                                                                            5,800.00
Discover Card                                                                                     Consumer goods and services
PO Box 15251
Wilmington, DE 19886-5251



ACCOUNT NO.            6011001570263964                                                                                                                                                            5,500.00
Discover Card                                                                                     Consumer goods and services
PO Box 15251
Wilmington, DE 19886-5251



ACCOUNT NO.            5121075003324113                                                                                                                                                            5,800.00
Sears Gold Mastercard                                                                             Consumer goods and services
PO Box 182156
Columbus, OH 43218-2156




                   0    Continuation sheets attached
                                                                                                                                Subtotal
                                                                                                                                                                                               $17,100.00

                                                                                                                                   Total                                                       $17,100.00

                                                                                                                                                                                (Report also on Summary of Schedules)
            Case 05-37059-MS                   Doc 1     Filed 08/23/05 Entered 08/23/05 12:54:42                     Desc Main
                                                         Document Page 14 of 32
Form B6G
(10/89)

In re:    Simon Smith                                                                                   Case No.
                                                                                                   ,
                                      Debtor                                                                               (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                            DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
           Case 05-37059-MS                  Doc 1      Filed 08/23/05 Entered 08/23/05 12:54:42      Desc Main
                                                        Document Page 15 of 32
B6H
(6/90)
In re:   Simon Smith                                                              ,   Case No.
                               Debtor                                                                     (If known)


                                              SCHEDULE H - CODEBTORS
           Check this box if debtor has no codebtors.



                    NAME AND ADDRESS OF CODEBTOR                                NAME AND ADDRESS OF CREDITOR
            Case 05-37059-MS                   Doc 1       Filed 08/23/05 Entered 08/23/05 12:54:42                            Desc Main
                                                           Document Page 16 of 32
Form B6I
(12/03)
In re       Simon Smith                                                                      , Case No.

                                                  Debtor                                                                       (If known)




           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
Debtor’s Marital
                                                               DEPENDENTS OF DEBTOR AND SPOUSE
Status:       Married
                                               RELATIONSHIP                                                                AGE


Employment:                                           DEBTOR                                                   SPOUSE
Occupation                     Mover
Name of Employer               Graebel Moving Company
How long employed
Address of Employer            8 Aspen Drive
                               Randolph, NJ 07869

Income: (Estimate of average monthly income)                                                              DEBTOR                   SPOUSE
Current monthly gross wages, salary, and commissions
(pro rate if not paid monthly.)                                                              $                1,600.00 $
Estimated monthly overtime                                                                   $                  200.00 $

SUBTOTAL                                                                                     $               1,800.00      $
        LESS PAYROLL DEDUCTIONS
        a. Payroll taxes and social security                                                  $                 270.00 $
                                                                                              $                   0.00 $
        b. Insurance
        c. Union dues                                                                         $                   0.00 $
        d. Other (Specify)                                                                    $                     0.00   $

 SUBTOTAL OF PAYROLL DEDUCTIONS                                                              $                  270.00 $
TOTAL NET MONTHLY TAKE HOME PAY                                                              $                1,530.00 $
Regular income from operation of business or profession or farm
(attach detailed statement)                                                                  $                     0.00 $
Income from real property                                                                    $                     0.00 $
Interest and dividends                                                                       $                     0.00 $
Alimony, maintenance or support payments payable to the debtor for the
debtor’s use or that of dependents listed above.                                             $                     0.00 $
Social security or other government assistance
(Specify)                                                                                    $                     0.00 $
Pension or retirement income                                                                 $                     0.00 $
Other monthly income
(Specify)                                                                                     $                     0.00   $


TOTAL MONTHLY INCOME                                                                          $               1,530.00 $

TOTAL COMBINED MONTHLY INCOME                                   $ 1,530.00                (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following
the filing of this document:                           NONE
           Case 05-37059-MS                 Doc 1       Filed 08/23/05 Entered 08/23/05 12:54:42                              Desc Main
                                                        Document Page 17 of 32
Form B6J
(6/90)

  In re    Simon Smith                                                                                     ,     Case No.
            Debtor                                                                                                              (If known)

              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

      Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
      schedule of expenditures labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home)                                                      $                874.00
Are real estate taxes included?               Yes                      No
Is property insurance included?               Yes                       No         
Utilities Electricity and heating fuel                                                                                  $                 75.00
          Water and sewer                                                                                               $                  0.00
           Telephone                                                                                                    $                100.00
           Other                                                                                                        $                     0.00
Home maintenance (repairs and upkeep)                                                                                   $                  0.00
Food                                                                                                                    $                300.00
Clothing                                                                                                                $                 50.00
Laundry and dry cleaning                                                                                                $                 40.00
Medical and dental expenses                                                                                             $                 50.00
Transportation (not including car payments)                                                                             $                  0.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                        $                 50.00
Charitable contributions                                                                                                $                  0.00
Insurance (not deducted from wages or included in home mortgage payments)
              Homeowner’s or renter’s                                                                                   $                    10.50
              Life                                                                                                      $                     0.00
              Health                                                                                                    $                     0.00
              Auto                                                                                                      $                     0.00
              Other                                                                                                     $                     0.00
Taxes (not deducted from wages or included in home mortgage payments)
(Specify)                                                                                                               $                     0.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan)
              Auto                                                                                                      $                     0.00
             Other                                                                                                      $                     0.00
Alimony, maintenance or support paid to others                                                                          $                     0.00
Payments for support of additional dependents not living at your home                                                   $                     0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                            $                     0.00
Other                                                                                                                   $                     0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                            $             1,549.50
[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at
some other regular interval.
A. Total projected monthly income                                                                                       $
B. Total projected monthly expenses                                                                                     $
C. Excess income (A minus B)                                                                                            $
D. Total amount to be paid into plan each                                                                               $
                                                                                 (interval)
                  Case 05-37059-MS                    Doc 1    Filed 08/23/05 Entered 08/23/05 12:54:42                                    Desc Main
                                                               Document Page 18 of 32

Form B6
(6/90)


                                                        United States Bankruptcy Court
                                                               District of New Jersey
In re     Simon Smith                                                                                      Case No.

                                                                                                           Chapter       7


                                                       SUMMARY OF SCHEDULES
                                                                                                               AMOUNTS SCHEDULED

                                           ATTACHED
           NAME OF SCHEDULE                               NO. OF SHEETS             ASSETS                            LIABILITIES                OTHER
                                            (YES/NO)


                                             YES                            $
  A - Real Property                                                    1                            0.00

  B - Personal Property                      YES                            $
                                                                       3                    6,941.00

  C - Property Claimed
      as Exempt                              YES                       1

  D - Creditors Holding
                                             YES                       1                                   $                        0.00
      Secured Claims

  E - Creditors Holding Unsecured
      Priority Claims
                                             YES                       2                                   $                        0.00

  F - Creditors Holding Unsecured
                                             YES                       1                                   $                 17,100.00
      Nonpriority Claims

  G - Executory Contracts and
      Unexpired Leases
                                             YES                       1

  H - Codebtors                              YES                       1
  I-     Current Income of
         Individual Debtor(s)                YES                       1                                                                    $          1,530.00

  J - Current Expenditures of
      Individual Debtor(s)
                                             YES                       1                                                                    $          1,549.50

                          Total Number of sheets
                                                                       13
                                   in ALL Schedules

                                                        Total Assets        $              6,941.00

                                                                                Total Liabilities          $                 17,100.00
              Case 05-37059-MS                    Doc 1        Filed 08/23/05 Entered 08/23/05 12:54:42                                        Desc Main
                                                               Document Page 19 of 32
Official Form 6 - Cont .
(12/03)

  In re: Simon Smith                                                                                             ,             Case No.
                                Debtor                                                                                                       (If known)


                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

  I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      14
                                                                                                                           (Total shown on summary page plus 1.)

sheets plus the summary page, and that they are true and correct to the best of my knowledge, information, and belief.




Date: 8/16/2005                                                                     Signature: s/ Simon Smith
                                                                                                 Simon Smith

                                                                                    [If joint case, both spouses must sign]

         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


                                                                          (NOT APPLICABLE)




Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
           Case 05-37059-MS               Doc 1     Filed 08/23/05 Entered 08/23/05 12:54:42                         Desc Main
                                                    Document Page 20 of 32
Form 7
(12/03)

                                                   UNITED STATES BANKRUPTCY COURT
                                                          District of New Jersey

In re:    Simon Smith                                                                              Case No.
                                                                                                   Chapter    7

                                      STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None       State the gross amount of income the debtor has received from employment, trade, or profession, or from
           operation of the debtor's business from the beginning of this calendar year to the date this case was
           commenced. State also the gross amounts received during the two years immediately preceding this
           calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
           than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
           fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
           chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
           spouses are separated and a joint petition is not filed.)
           AMOUNT                            SOURCE                                         FISCAL YEAR PERIOD


           17,521.00                         Employment                                     2003

           12,266.00                         Employment                                     2004

           2. Income other than from employment or operation of business
None
   
           State the amount of income received by the debtor other than from employment, trade,
           profession, or operation of the debtor's business during the two years immediately preceding the
           commencement of this case. Give particulars. If a joint petition is filed, state income for each
           spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)

           AMOUNT                             SOURCE                                                                FISCAL YEAR PERIOD


           3. Payments to creditors
None
   
           a. List all payments on loans, installment purchases of goods or services, and other debts,
           aggregating more than $600 to any creditor, made within 90 days immediately preceding the
           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
           payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

                                                               DATES OF                                AMOUNT              AMOUNT
           NAME AND ADDRESS OF CREDITOR                        PAYMENTS                                PAID                STILL OWING


           b. List all payments made within one year immediately preceding the commencement of this case
           to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12
           or chapter 13 must include payments by either or both spouses whether or not a joint petition is
           filed, unless the spouses are separated and a joint petition is not filed.)
None
   
           NAME AND ADDRESS OF CREDITOR                     DATES OF                                                        AMOUNT
           AND RELATIONSHIP TO DEBTOR                       PAYMENTS                                 AMOUNT PAID            STILL OWING
       Case 05-37059-MS              Doc 1     Filed 08/23/05 Entered 08/23/05 12:54:42                       Desc Main
                                               Document Page 21 of 32
       NAME AND ADDRESS OF CREDITOR                    DATES OF                                                    AMOUNT
       AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID          STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
  
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
       immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
       chapter 13 must include information concerning either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

       CAPTION OF SUIT                                                       COURT OR AGENCY                      STATUS OR
       AND CASE NUMBER                      NATURE OF PROCEEDING             AND LOCATION                         DISPOSITION




       b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  
       NAME AND ADDRESS                                                                  DESCRIPTION
       OF PERSON FOR WHOSE                                   DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                           SEIZURE                     PROPERTY


       5. Repossessions, foreclosures and returns
None
  
       List all property that has been repossessed by a creditor, sold at a foreclosure sale,
       transferred through a deed in lieu of foreclosure or returned to the seller, within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning property of either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                           DATE OF REPOSSESSION,         DESCRIPTION
       NAME AND ADDRESS                                    FORECLOSURE SALE              AND VALUE OF
       OF CREDITOR OR SELLER                               TRANSFER OR RETURN            PROPERTY



       6. Assignments and receiverships
None
  
       a. Describe any assignment of property for the benefit of creditors made within 120 days
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                        TERMS OF
       NAME AND ADDRESS                                     DATE OF                     ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                  OR SETTLEMENT
       Case 05-37059-MS              Doc 1      Filed 08/23/05 Entered 08/23/05 12:54:42                         Desc Main
                                                Document Page 22 of 32

       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  
                                                NAME AND ADDRESS                                          DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                 AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                   PROPERTY


       7. Gifts
None
  
            List all gifts or charitable contributions made within one year immediately preceding the
       commencement of this case except ordinary and usual gifts to family members aggregating less
       than $200 in value per individual family member and charitable contributions aggregating less
       than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
       or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)

       NAME AND ADDRESS                         RELATIONSHIP                                              DESCRIPTION
       OF PERSON                                TO DEBTOR,                    DATE                        AND VALUE OF
       OR ORGANIZATION                          IF ANY                        OF GIFT                     GIFT


       8. Losses

None
  
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding
       the commencement of this case or since the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS


       9. Payments related to debt counseling or bankruptcy
None        List all payments made or property transferred by or on behalf of the debtor to any persons,
       including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
       or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.
       NAME AND ADDRESS                                        DATE OF PAYMENT,             AMOUNT OF MONEY OR
       OF PAYEE                                                NAME OF PAYOR IF             DESCRIPTION AND VALUE
                                                               OTHER THAN DEBTOR            OF PROPERTY
       Alexander J. Rinaldi, Esq.                                                           500.00
       9 Eyland Avenue @ Route 10
       Succasunna, NJ 07876



       10. Other transfers
None
  
       a. List all other property, other than property transferred in the ordinary course of the business or
       financial affairs of the debtor, transferred either absolutely or as security within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
       Case 05-37059-MS              Doc 1     Filed 08/23/05 Entered 08/23/05 12:54:42                      Desc Main
                                               Document Page 23 of 32

                                                                                                 DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                           TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                AND VALUE RECEIVED




       11. Closed financial accounts
None
  
       List all financial accounts and instruments held in the name of the debtor or for the benefit of
       the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
       the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit
       unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             TYPE OF ACCOUNT, LAST FOUR          AMOUNT AND
       NAME AND ADDRESS                                      DIGITS OF ACCOUNT NUMBER,           DATE OF SALE
       OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE         OR CLOSING


       12. Safe deposit boxes
None
  
       List each safe deposit or other box or depository in which the debtor has or had securities,
       cash, or other valuables within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
       NAME AND ADDRESS                         NAMES AND ADDRESSES               DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS              OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITORY              CONTENTS                      IF ANY


       13. Setoffs
None
  
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
       within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      DATE OF                                      AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                   SETOFF                                       SETOFF


       14. Property held for another person
None
  
       List all property owned by another person that the debtor holds or controls.

       NAME AND ADDRESS                                     DESCRIPTION AND VALUE
       OF OWNER                                             OF PROPERTY                         LOCATION OF PROPERTY


       15. Prior address of debtor
None
  
        Case 05-37059-MS              Doc 1      Filed 08/23/05 Entered 08/23/05 12:54:42                         Desc Main
                                                 Document Page 24 of 32
        If the debtor has moved within the two years immediately preceding the commencement of this
        case, list all premises which the debtor occupied during that period and vacated prior to the
        commencement of this case. If a joint petition is filed, report also any separate address of either
        spouse.

        ADDRESS                                                         NAME USED                               DATES OF OCCUPANCY


         16. Spouses and Former Spouses
 None
   
         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
         California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year
         period immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former
         spouse who resides or resided with the debtor in the community property state.

         NAME



        17. Environmental Information.
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
        hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
        including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
                formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

        a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
        date of the notice, and, if known, the Environmental Law.
None
  
        SITE NAME AND                              NAME AND ADDRESS                   DATE OF                     ENVIRONMENTAL
        ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                      LAW




         b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
         Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

 None
   
         SITE NAME AND                        NAME AND ADDRESS                      DATE OF               ENVIRONMENTAL
         ADDRESS                              OF GOVERNMENTAL UNIT                  NOTICE                LAW




         c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.
 None
   
         NAME AND ADDRESS                           DOCKET NUMBER                                     STATUS OR
         OF GOVERNMENTAL UNIT                                                                         DISPOSITION
         Case 05-37059-MS              Doc 1     Filed 08/23/05 Entered 08/23/05 12:54:42                        Desc Main
                                                 Document Page 25 of 32

         18. Nature, location and name of business
None
  
         a.      If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
         executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years
         immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
         equity securities within the six years immediately preceding the commencement of this case.


         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
         business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
         percent or more of the voting or equity securities within the six years immediately preceding the
         commencement of this case.


         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
         business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
         percent or more of the voting or equity securities within the six years immediately preceding the
         commencement of this case.

                                  TAXPAYER                                                                           BEGINNING AND ENDING
         NAME                     I.D. NUMBER            ADDRESS                          NATURE OF BUSINESS         DATES



          b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
          U.S.C. § 101.
 None
         NAME                                                                      ADDRESS




                                                                  * * * * * *


   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

      Date 8/16/2005                                          Signature    s/ Simon Smith
                                                              of Debtor    Simon Smith
Case 05-37059-MS              Doc 1        Filed 08/23/05 Entered 08/23/05 12:54:42                      Desc Main
                                           Document Page 26 of 32
Form B1, Exhibit C
(9/01)


                               UNITED STATES BANKRUPTCY COURT
                                      District of New Jersey



                                                    Exhibit "C"


          [If, to the best of the debtor's knowledge, the debtor owns or has possession of property
 that poses or is alleged to pose a threat of imminent and identifiable harm to the public health or
safety, attach this Exhibit "C" to the petition.]


In re:    Simon Smith                                                                       Case No.:

                                                                                            Chapter:     7

                               Debtor(s)

                                        Exhibit "C" to Voluntary Petition



         1. Identify and briefly describe all real or personal property owned by or in possession of
the debtor that, to the best of the debtor's knowledge, poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety (attach additional sheets if necessary):




         2. With respect to each parcel of real property or item of personal property identified in
question 1, describe the nature and location of the dangerous condition, whether environmental
or otherwise, that poses or is alleged to pose a threat of imminent and identifiable harm to the
public health or safety (attach additional sheets if necessary):
             Case 05-37059-MS                 Doc 1       Filed 08/23/05 Entered 08/23/05 12:54:42                                   Desc Main
                                                          Document Page 27 of 32
Official Form 8
( 12/03)

                                                 UNITED STATES BANKRUPTCY COURT
                                                             District of New Jersey

  In re:   Simon Smith                                                                                                Case No.
                                                                                                                      Chapter       7

                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
      1.   I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
      2.   I intend to do the following with respect to the property of the estate which secures those consumer debts:

            a.    Property To Be Surrendered.

            Description of Property                                              Creditor's Name

                    None

            b.    Property To Be Retained.                                                 [Check any applicable statement.]


                                                                                                Property will        Debt will be
 Description                                                                      Property      be redeemed          reaffirmed
 of                                     Creditor's                                is claimed    pursuant to          pursuant to
 Property                               Name                                      as exempt     11 U.S.C. § 722      11 U.S.C. § 524(c)   Other

      None


Date:       8/16/2005                                                                          s/ Simon Smith
                                                                                               Signature of Debtor
             Case 05-37059-MS                    Doc 1        Filed 08/23/05 Entered 08/23/05 12:54:42                               Desc Main
                                                              Document Page 28 of 32
                                                        UNITED STATES BANKRUPTCY COURT
                                                                  District of New Jersey
In re:           Simon Smith                                                                                          Case No.
                                                                                                                      Chapter        7
Debtor
                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $           500.00
          Prior to the filing of this statement I have received                                                                  $           500.00
          Balance Due                                                                                                            $               0.00
2. The source of compensation paid to me was:

                 Debtor                                          Other (specify)
3. The source of compensation to be paid to me is:
                  Debtor                                          Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      [Other provisions as needed]
             None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                        CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 8/16/2005

                                                                        "/s/ Alexander Rinaldi
                                                                        Alexander J. Rinaldi, Bar No. ajr/0932

                                                                         Salny, Redbord & Rinaldi
                                                                         Attorney for Debtor(s)
        Case 05-37059-MS                      Doc 1       Filed 08/23/05 Entered 08/23/05 12:54:42                                       Desc Main
                                                          Document Page 29 of 32

 B 201 (11/03)

                                           UNITED STATES BANKRUPTCY COURT
                               NOTICE TO INDIVIDUAL CONSUMER DEBTOR
                              The purpose of this notice is to acquaint you with the four chapters of the federal
                              Bankruptcy Code under which you may file a bankruptcy petition. The bankruptcy
                              law is complicated and not easily described. Therefore, you should seek the advice
                              of an attorney to learn of your rights and responsibilities under the law should you
                              decide to file a petition with the court. Court employees are prohibited from giving
                              you legal advice.


Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)

        1.          Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

        2.       Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of the
Bankruptcy Code.
       3.        The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the
purpose for which you filed the bankruptcy petition will be defeated.

       4.         Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be
responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or
personal injury caused by driving while intoxicated from alcohol or drugs.

       5.         Under certain circumstances you may keep property that you have purchased subject to valid security interest. Your attorney
can explain the options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing fee
plus $39 administrative fee)
         1.        Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to
pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
        2.        Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them,
using your future earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five years.
Your plan must be approved by the court before it can take effect.
       3.       Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you continue
to make payments under the plan.

        4.        After completion of payments under your plan, your debts are discharged except alimony and support payments, student
loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated
from alcohol or drugs, and long term secured obligations.

Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
      Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer ($200 filing fee plus $39 administrative fee)
        Chapter 12 designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways
similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family
- owned farm.

I, the debtor, affirm that I have read this notice.



 8/16/2005                                    s/ Simon Smith
             Date                                                    Signature of Debtor                                                 Case Number
FORM B10Case
        (Official 05-37059-MS
                  Form 10) (04/04)                         Doc 1           Filed 08/23/05 Entered 08/23/05 12:54:42                                                          Desc Main
                                                                           Document Page 30 of 32
 UNITED STATES BANKRUPTCY COURT                                                                                                                                       PROOF OF CLAIM
 Name of Debtor                                                                                    Case Number


 NOTE:       This form should not be used to make a claim for an administrative expense arising after the commencement of the
 case. A "request" for payment of an administrative expense may be filed pursuant to 11 U.S.C. § 503.

 Name of Creditor (The person or other entity to whom the debtor owes                                   Check box if you are aware that
 money or property):                                                                                    anyone else has filed a proof of
                                                                                                        claim relating to your claim.
                                                                                                        Attach copy of statement giving
                                                                                                        particulars.
 Name and address where notices should be sent:
                                                                                                        Check box if you have never
                                                                                                        received any notices from the
                                                                                                        bankruptcy court in this case.
                                                                                                        Check box if the address differs
                                                                                                        from the address on the envelope
                                                                                                        sent to you by the court.
 Telephone number:                                                                                                                                          THIS SPACE IS FOR COURT USE ONLY
 Account or other number by which creditor identifies debtor:                                      Check here
                                                                                                   if this claim       replaces
                                                                                                                       amends      a previously filed claim, dated:

  1.    Basis for Claim
                                                                                                        Retiree benefits as defined in 11 U.S.C. § 1114(a)
              Goods sold
                                                                                                        Wages, Salaries and compensations (Fill out below)
              Services performed
              Money loaned                                                                              Last four digits of SS #:
              Personal injury/wrongful death                                                            Unpaid compensation for services performed
              Taxes                                                                                     from _____________________ to ______________________
              Other __________________________________________                                                         (date)                      (date)

 2.     Date debt was incurred:                                                                    3.       If court judgment, date obtained:


 4.     Total Amount of Claim at Time Case Filed: $
                                                                                      (unsecured)                  (secured)                   (priority)                    (Total)
        If all or part of your claim is secured or entitled to priority, also complete Item 5 or 6 below.
        Check this box if claim includes interest or other charges in addition to the principal amount of the claim. Attach itemized
        statement of all interest or additional charges.

 5.      Secured Claim.                                                                            7.       Unsecured Priority Claim.
        Check this box if your claim is secured by collateral (including a                                  Check this box if you have an unsecured priority claim
        right to setoff).                                                                                   Amount entitled to priority        $
        Brief Description of Collateral:                                                                    Specify the priority of the claim:
              Real Estate                     Motor Vehicle                                                    Wages, salaries, or commissions (up to $4,925), * earned within 90 days
                      Other                                                                                    before filing of the bankruptcy petition or cessation of the debtor's business,
                                                                                                               whichever is earlier - 11 U.S.C. § 507(a)(3).
                                                                                                               Contributions to an employee benefit plan - 11 U.S.C. § 507(a)(4).
        Value of Collateral:             $_____________________                                                Up to $2,225* of deposits toward purchase, lease, or rental of property or services
         Amount of arrearage and other charges at time case filed                                              for personal, family, or household use - 11 U.S.C. § 507(a)(6).
         included in secured claim , if any:
                                             $_______________
                                                                                                               Alimony, maintenance, or support owed to a spouse, former spouse, or child - 11
 6.                                                                                                            U.S.C. § 507(a)(7).
        Unsecured Nonpriority Claim $
                                                                                                               Taxes or penalties of governmental units - 11 U.S.C. § 507(a)(8).
         Check this box if: a) there is no collateral or lien securing your claim, or b) your                  Other - Specify applicable paragraph of 11 U.S.C. § 507(a)
         claim exceeds the value of the property securing it, or if c) none or only part of
         your claim is entitled to priority.                                                             *Amounts are subject to adjustment on 4/1/07 and every 3 years thereafter with respect
                                                                                                             to cases commenced on or after the date of adjustment.

 7.     Credits:       The amount of all payments on this claim has been credited and deducted for                                                          THIS SPACE IS FOR COURT USE ONLY
        the purpose of making this proof of claim.
  8.    Supporting Documents:          Attach copies of supporting documents, such as promissory
        notes, purchase orders, invoices, itemized statements of running accounts, contracts,
        court judgments, mortgages, security agreements, and evidence of perfection of lien.
        DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available,
        explain. If the documents are voluminous, attach a summary.
 9.     Date-Stamped Copy:          To receive an acknowledgment of the filing of your claim,
        enclose a stamped, self-addressed envelope and copy of this proof of claim.
 Date                       Sign and print the name and title, if any, of the creditor or other person authorized to file
                            this claim (attach copy of power of attorney, if any):

       8/23/2005

                     Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.
           Case 05-37059-MS                            Doc 1           Filed 08/23/05 Entered 08/23/05 12:54:42   Desc
                                                                                                           FORM B10        Main
                                                                                                                    (Official Form 10) (04/04)
                                                                       Document Page 31 of 32
                                    INSTRUCTIONS FOR PROOF OF CLAIM FORM
The instructions and definitions below are general explanations of the law. In particular types of cases or circumstances, such as bankruptcy cases
that are not filed voluntarily by a debtor, there may be exceptions to these general rules.


                                                                                 ---- DEFINITIONS ----

Debtor                                                           Secured Claim                                               Unsecured Claim
The person, corporation, or other entity                         A claim is a secured claim to the                           If a claim is not a secured claim it is an
that has filed a bankruptcy case is                              extent that the creditor has a lien on                      unsecured claim. A claim may be partly
called the debtor.                                               property of the debtor (collateral) that                    secured and partly unsecured if the
                                                                 gives the creditor the right to be paid                     property on which a creditor has a lien is
Creditor
                                                                 from that property before creditors                         not worth enough to pay the creditor in
A creditor is any person, corporation,                           who do not have liens on the property.                      full.
or other entity to whom the debtor
                                                                  Examples of liens are a mortgage on                        Unsecured Priority Claim
owed a debt on the date that the
                                                                 real estate and a security interest in a
bankruptcy case was filed.                                                                                                   Certain types of unsecured claims are given
                                                                 car, truck, boat, television set, or other
                                                                                                                             priority, so they are to be paid in bankruptcy
Proof of Claim                                                   item of property. A lien may have been
                                                                 obtained through a court proceeding                         cases before most other unsecured claims (if
A form telling the bankruptcy court                              before the bankruptcy case began; in                        there is sufficient money or property
how much the debtor owed a creditor                                                                                          available to pay these claims). The most
                                                                 some states a court judgment is a lien.
at the time the bankruptcy case was                                                                                          common types of priority claims are listed
                                                                 In addition, to the extent a creditor
filed (the amount of the creditor’s                                                                                          on the proof of claim form. Unsecured
                                                                 also owes money to the debtor (has a
claim). This form must be filed with                                                                                         claims that are not specifically given
                                                                 right of setoff), the creditor’s claim
the clerk of the bankruptcy court                                may be a secured claim. (See also                           priority status by the bankruptcy laws are
where the bankruptcy case was filed.                              Unsecured Claim.)                                          classified as Unsecured Nonpriority
                                                                                                                              Claims.

                                       Items to be completed in Proof of Claim form (if not already filled in)
Court, Name of Debtor, and Case Number:
                                                                                                5. Secured Claim:
   Fill in the name of the federal judicial district where the bankruptcy                          Check the appropriate place if the claim is a secured claim. You must
   case was filed (for example, Central District of California), the name                          state the type and value of property that is collateral for the claim, attach
   of the debtor in the bankruptcy case, and the bankruptcy case                                   copies of the documentation of your lien, and state the amount past due
   number. If you received a notice of the case from the court, all of this                        on the claim as of the date the bankruptcy case was filed. A claim may
   information is near the top of the notice.                                                      be partly secured and partly unsecured. (See DEFINITIONS, above).

Information about Creditor:                                                                     6. Unsecured Nonpriority Claim:
   Complete the section giving the name, address, and telephone                                    Check the appropriate place if you have an unsecured nonpriority
   number of the creditor to whom the debtor owes money or property,                               claim, sometimes referred to as a “general unsecured claim”. (See
   and the debtor’s account number, if any. If anyone else has already                             DEFINITIONS, above.) If your claim is partly secured and partly
   filed a proof of claim relating to this debt, if you never received                             unsecured, state here the amount that is unsecured. If part of your
   notices from the bankruptcy court about this case, if your address                              claim is entitled to priority, state here the amount not entitled to priority.
   differs from that to which the court sent notice, or if this proof of                        7. Unsecured Priority Claim:
   claim replaces or changes a proof of claim that was already filed,
   check the appropriate box on the form.                                                          Check the appropriate place if you have an unsecured priority claim,
                                                                                                   and state the amount entitled to priority. (See DEFINITIONS,
1. Basis for Claim:
                                                                                                   above). A claim may be partly priority and partly nonpriority if, for
                                                                                                   example, the claim is for more than the amount given priority by the
   Check the type of debt for which the proof of claim is being filed. If
   the type of debt is not listed, check "Other" and briefly describe the                          law. Check the appropriate place to specify the type of priority
   type of debt. If you were an employee of the debtor, fill in the last four                      claim.
   digits of your social security number and the dates of work for which
   you were not paid.                                                                           8. Credits:
                                                                                                   By signing this proof of claim, you are stating under oath that in
2. Date Debt Incurred:
                                                                                                   calculating the amount of your claim you have given the debtor credit
   Fill in the date when the debt first was owed by the debtor.                                    for all payments received from the debtor.

3. Court Judgments:
                                                                                                9 Supporting Documents:
   If you have a court judgment for this debt, state the date the court
   entered the judgment.                                                                           You must attach to this proof of claim form copies of documents that
                                                                                                   show the debtor owes the debt claimed or, if the documents are too
4. Total Amount of Claim at Time Case Filed:                                                       lengthy, a summary of those documents. If documents are not
   Fill in the total amount of the entire claim. If interest or other charges                      available, you must attach an explanation of why they are not available.
   in addition to the principal amount of the claim are included, check
   the appropriate place on the form and attach an itemization of the
   interest and charges.
                Case 05-37059-MS                 Doc 1      Filed 08/23/05 Entered 08/23/05 12:54:42                Desc Main
                                                            Document Page 32 of 32

                                                       UNITED STATES BANKRUPTCY COURT
                                                              District of New Jersey
In re:      Simon Smith                                                                              Case No.

                                                                                                   Chapter    7

                                              BUSINESS INCOME AND EXPENSES
                   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business
operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

          1. Gross Income For 12 Months Prior to Filing:                                    $                0.00

PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

          2. Gross Monthly Income:                                                                                    $         0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

          3.   Net Employee Payroll (Other Than Debtor)                                     $                0.00
          4.   Payroll Taxes                                                                                 0.00
          5.   Unemployment Taxes                                                                            0.00
          6.   Worker's Compensation                                                                         0.00
          7.   Other Taxes                                                                                   0.00
          8.   Inventory Purchases (Including raw materials)                                                 0.00
          9.   Purchase of Feed/Fertilizer/Seed/Spray                                                        0.00
         10.   Rent (Other than debtor's principal residence)                                                0.00
         11.   Utilities                                                                                     0.00
         12.   Office Expenses and Supplies                                                                  0.00
         13.   Repairs and Maintenance                                                                       0.00
         14.   Vehicle Expenses                                                                              0.00
         15.   Travel and Entertainment                                                                      0.00
         16.   Equipment Rental and Leases                                                                   0.00
         17.   Legal/Accounting/Other Professional Fees                                                      0.00
         18.   Insurance                                                                                     0.00
         19.   Employee Benefits (e.g., pension, medical, etc.)                                              0.00
         20.   Payments to Be Made Directly By Debtor to Secured Creditors For
                   Pre-Petition Business Debts (Specify):
                   None
         21. Other (Specify):

                   None

         22. Total Monthly Expenses (Add items 3 - 21)                                                                $         0.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

         23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                                $         0.00
